Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22   Page 1 of 24 PageID 5




              EXHIBIT A
01231334ÿ26728ÿ9                                                    
                   Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22        Page 2 of 24 PageID 6




             )*+,ÿ./0123*451/
             DC-22-04750 I YOLANDA MARQUEZ vs . ALLSTATE TEXAS LLOYDS

             Case Numberÿ                      Court                                    ÿ
                                                                           Judicial Officer
              6733768086                       293ÿÿ6             !! :4ÿ 9 ;6:9
             File Dateÿ                        Case Typeÿ                  Case Statusÿ
             6816813633                        6<= ÿ6< ÿ6! ÿ:>=           !:<




             ?*24@
             PLAINTIFF                                                                  ÿ
                                                                                        F
              9 AB:C4ÿD!9< 9
                                                                           Active Attorneys
                                                                           GHIJÿKLLMNOHP
             ÿ                                                             QRSTUVÿWQKXYÿZ
                                                                               



             DEFENDANT                                                                  ÿ
                                                                                        F
             9=9=:ÿ=:[9ÿ!D 
                                                                           Active Attorneys
                                                                           GHIJÿKLLMNOHP
             KJJNH\\                                                       KGGUYVÿSK`aSÿT
             >Dÿ: ];<^ÿ;=ÿ:^;=: : ÿ9^:<=ÿ6=ÿ6! ! 9=;!<ÿD=: ÿ             
             2___ÿ> D9<ÿ=ÿ=:ÿ_66ÿ
              99ÿ=[ÿ08362
             ÿ




             bc,/4+ÿ*/dÿe,*25/f+

 711199 ! 1"# 1$%  &'6                                  21(
01231334ÿ26728ÿ9                                                      
                   Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22          Page 3 of 24 PageID 7
                   05/04/2022 NEW CASE FILED (OCA) - CIVIL


                   05/04/2022 ORIGINAL PETITION    /
                   ORIGINAL PETITION


                   05/04/2022 ISSUE CITATION   /
                   ISSUE CITATION- ALLSTATE TEXAS LLOYD S


                   05/04/2022 JURY DEMAND


                   06/15/2022 CITATION   /
                   Served ÿ
                   6012013633
                                    ÿ
                   Anticipated Server
                   11 21
                                  ÿ
                   Anticipated Method
                              ÿ
                   Actual Server
                    32941ÿ !51ÿ1 21
                   Returned ÿ
                   6013213633
                   Comment
                   94941ÿ4169ÿ!7 8
                   06/21/2022 RETURN OF SERVICE    /
                   EXECUTED CITATION - ALLSTATE TEXAS LLOYDS

                     Comment
                     1615941 ÿ534943!:ÿ;ÿ94941ÿ4169ÿ!7 
                   07/08/2022 ORIGINAL ANSWER - GENERAL DENIAL   /
                   DEFENDANT ORIGINAL ANSWER ALLSTATE TEXAS LLOYD'S




             )*+,+-*,.
             MARQUEZ, YOLANDA

 711199 ! 1"# 1$%  &'6                                    31(
01231334ÿ26728ÿ9                                                      
                     23453:22-cv-01495-E
                   Case  6ÿ89:5:;956ÿ<==>==?>:4
                                              Document 1-1 Filed 07/12/22                    @ABCD
                                                                             Page 4 of 24 PageID 8EE
                     23456ÿF5G?>:4=ÿ5:HÿIJ>H94=                                              @ABCDEE
              KLMLNENN 2J5:=5;493:ÿ<==>==?>:4                                                @ABCDEE
              KLMLNENN IOPQR2ÿI<OQÿSÿ2PT8RUP O>;>9X4ÿYÿNZZCZSNENNS \<O]^P_`                V@NAdDEEW
                       VQIW                   QIU[                 abU<cQ<
              KLMLNENN e2<2PÿIOPQR2                                                        V@dAZDEEW




             )*+,-./01
                   ORIGINAL PETITION

                   ISSUE CITATION- ALLSTATE TEXAS LLOYD S

                   EXECUTED CITATION - ALLSTATE TEXAS LLOYDS

                   DEFENDANT ORIGINAL ANSWER ALLSTATE TEXAS LLOYD'S




 711199 ! 1"# 1$%  &'6                                      (1(
                                                                                                                         FILED
                                                                                                              5/4/2022 2:01 PM
                                                                                                                FELICIA PITRE
1 CIT-ESERVECase 3:22-cv-01495-E Document 1-1 Filed 07/12/22                  Page 5 of 24    PageID 9 DISTRICT CLERK
                                                                                                          DALLAS CO., TEXAS
                                                                                                   Christi Underwood DEPUTY
                                                        DC-22-04 750
                                          CAUSE NO. - - - - - - -

          YOLANDA MARQUEZ                                  §
                                                                         IN THE DISTRICT COURT OF
                                                           §
               Plaintiff,                                  §               162nd
                                                           §
                                                           §
          v.                                               §                - - - JUDICIAL DISTRICT
                                                           §
                                                           §
          ALLSTATE TEXAS LLOYD'S,                          §
                                                           §              DALLASCOUNTY,TEXAS
               Defendant

                                      PLAINTIFF'S ORIGINAL PETITION

         TO THE HONORABLE JUDGE OF SAID COURT:

                  COMES NOW, Yolanda Marquez (hereinafter referred to as "Plaintiff'), and files this

         Plaintiff's Original Petition, complaining of Allstate Texas Lloyd's ("Defendant"), and for cause

         of action, Plaintiff would respectfully show this honorable Court the following:


                                         DISCOVERY CONTROL PLAN

         1.       Plaintiff intends discovery in this case be conducted under the provisions of Texas Rule of

                  Civil Procedure 190.4 (Level 3), and request that the Court enter an appropriate scheduling

                  order.

                                                      PARTIES

         2.       Plaintiffs, Yolanda Marquez, is an individual domiciled in Dallas County, Texas.

         3.       Defendant, Allstate Texas Lloyd's, is a foreign insurance company registered with the

                  Texas Department oflnsurance engaging in the business of insurance in the State of Texas.

                  Defendant may be served with process by serving its registered agent at CT

                  CORPORATION SYSTEM, 1999 BRYAN STREET, SUITE 900, DALLAS, TEXAS

                  75201.


         PLAINTIFF'S ORIGINAL PETITION                                                            Page 1 of 14
     Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                Page 6 of 24 PageID 10



                                 JURISDICTION AND VENUE

4.      The Court has jurisdiction over this cause of action because the amount in controversy is

        within the jurisdictional limits of the Court. Plaintiff is seeking monetary relief over

        $140,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest,

        and attorneys' fees.

5.      The Court has jurisdiction over Defendant because this Defendant engages in the business

        of insurance in the State of Texas, and Plaintiffs causes of action arise out of this

        Defendant's business activities in the State of Texas.

6.      Venue is proper in Dallas County, Texas, because the insured property at issue is situated

        in this county and the events giving rise to this lawsuit occurred in this county.

                                              FACTS

7.      Plaintiff is the owner of Texas insurance policy 000929941676 (hereinafter the "Policy"),

        which was issued by Defendant.

8.      Plaintiff owns the insured property, which is specifically located at 1114 Melbourne Ave.,

        Dallas, TX 75224 (hereinafter the "Property").

9.      Defendant sold the Policy insuring the Property to Plaintiff.

10.     On or about March 22, 2021 a wind/hailstorm caused extensive damage to the insured

        Property.

11.     Plaintiff submitted a claim to Defendant against the Policy for damages the Property

        sustained as a result of the storm event. Upon information and belief, Defendant assigned

        number 0607937372 to the claim.

12.     Plaintiff asked that Defendant cover the cost of repairs to the Property, pursuant to the

        Policy.




PLAINTIFF'S ORIGINAL PETITION                                                                Page 2 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                  Page 7 of 24 PageID 11



13.    Defendant inspected the property and did not issue a payment to Plaintiff for the damages.

       Defendant, on multiple occasions failed to properly inspect the property and failed to

       properly scope the loss by intentionally ignoring areas of damage and turning a blind eye

       to the true extent of the loss.

14.    Defendant set about to deny and/or underpay on properly covered damages. As a result of

       Defendant's unreasonable investigation of the claim, including not providing full coverage

       for the damages sustained by Plaintiff, as well as under-scoping the damages during its

       investigation and thus denying adequate and sufficient payment to Plaintiff to repair the

       Property, Plaintiffs claim was improperly adjusted. The mishandling of Plaintiffs claim

       has also caused a delay in Plaintiffs ability to fully repair the Property, which has resulted

       in additional damages. To this date, Plaintiff have yet to receive the full payment to which

       they are entitled under the Policy.

15.    As detailed in the paragraphs below, Defendant wrongfully denied Plaintiffs claim for

       repairs of the Property, even though the Policy provided coverage for losses such as those

       suffered by Plaintiff. Furthermore, Defendant underpaid some of Plaintiffs claims by not

       providing full coverage for the damages sustained by Plaintiff, as well as under-scoping

       the damages during its investigation.

16.    To date, Defendant continues to delay in the payment for the damages to the property. As

       such, Plaintiff have not been paid in full for the damages to the Property.

17.    Defendant failed to perform its contractual duties to adequately compensate Plaintiff under

       the terms of the Policy. Specifically, it refused to pay the full proceeds of the Policy,

       although due demand was made for proceeds to be paid in an amount sufficient to cover

       the damaged property, and all conditions precedent to recovery upon the Policy had been




PLAINTIFF'S ORIGINAL PETITION                                                            Page 3 of 14
      Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                 Page 8 of 24 PageID 12



         carried out and accomplished by the Plaintiff. Defendant's conduct constitutes a breach of

         the insurance contract between Defendant and Plaintiff.

18.      Defendant misrepresented to Plaintiff that certain damage to the Property was not covered

         under the Policy, even though the damage was caused by a covered occurrence.

         Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

         Practices. TEX. INS. CODE §541.060(a)(l).

19.      Defendant failed to make an attempt to settle Plaintiffs claim in a fair manner, although

         they were aware of their liability to Plaintiff under the Policy. Defendant's conduct

         constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

         CODE §54 l .060(a)(2)(A).

20.      Defendant failed to explain to Plaintiff the reasons for their offer of an inadequate

         settlement.   Specifically, Defendant failed to offer Plaintiff adequate compensation,

         without any or adequate explanation why full payment was not being made. Furthermore,

         Defendant did not communicate that any future settlements or payments would be

         forthcoming to pay for the entire losses covered under the Policy, nor did they provide any

         or adequate explanation for the failure to adequately settle Plaintiffs claim. Defendant's

         conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

         CODE §541.060(a)(3).

21.      Defendant failed to affirm or deny coverage of Plaintiffs claim within a reasonable time.

         Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding

         the full and entire claim, in writing from Defendant. Defendant's conduct constitutes a

         violation of the Texas Insurance Code, Unfair Settlement Practices.          TEX. INS. CODE

         §541.060(a)(4).




PLAINTIFF'S ORIGINAL PETITION                                                               Page 4 of 14
      Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22               Page 9 of 24 PageID 13



22.      Defendant refused to fully compensate Plaintiff, under the terms of the Policy, even though

         Defendant failed to conduct a reasonable investigation. Specifically, Defendant performed

         an outcome-oriented investigation of Plaintiffs claim, which resulted in a biased, unfair,

         and inequitable evaluation of Plaintiffs losses on the Property. Defendant's conduct

         constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

         CODE §541.060(a)(7).

23.      Defendant failed to meet its obligations under the Texas Insurance Code regarding timely

         acknowledging Plaintiffs claim, beginning an investigation of Plaintiffs claim, and

         requesting all information reasonably necessary to investigate Plaintiffs claim, within the

         statutorily mandated time of receiving notice of Plaintiffs claim. Defendant's conduct

         constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS.

         CODE §542.055.

24.      Defendant failed to accept or deny Plaintiffs full and entire claim within the statutorily

         mandated time of receiving all necessary information. Defendant's conduct constitutes a

         violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE

         §542.056.

25.      Defendant failed to meet its obligations under the Texas Insurance Code regarding payment

         of claim without delay. Specifically, it has delayed full payment of Plaintiffs claim longer

         than allowed and, to date, Plaintiff have not received full payment for the claim.

         Defendant's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment

         of Claims. TEX. INS. CODE §542.058.

26.      From and after the time Plaintiffs claim was presented to Defendant, the liability of

         Defendant to pay the full claim in accordance with the terms of the Policy was reasonably




PLAINTIFF'S ORIGINAL PETITION                                                             Page 5 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                 Page 10 of 24 PageID 14



       clear. However, Defendant has refused to pay Plaintiff in full, despite there being no basis

       whatsoever on which a reasonable insurance company would have relied to deny the full

       payment. Defendant's conduct constitutes a breach of the common law duty of good faith

       and fair dealing.

27.    Defendant knowingly or recklessly made false representations, as described above, as to

       material facts and/or knowingly concealed all or part of material information from Plaintiff.

28.    As a result of Defendant's wrongful acts and omissions, Plaintiff were forced to retain the

       professional services of the attorney and law firm for representation with respect to these

       causes of action.

                                     CAUSES OF ACTION

29.    Defendant is liable to Plaintiff for intentional breach of contract, as well as intentional

       violations of the Texas Insurance Code and Deceptive Trade Practices Act, intentional

       breach of the common law duty of good faith and fair dealing, and common law fraud.

                                   BREACH OF CONTRACT

30.    The Policy is a valid, binding, and enforceable contract between Plaintiff and Defendant.

31.    Defendant's conduct constitutes a breach of the insurance contract made between

       Defendant and Plaintiff.

32.    Defendant's failure and/or refusal, as described above, to pay the adequate compensation

       as it is obligated to do under the terms of the Policy in question, and under the laws of the

       State of Texas, constitutes a breach of Defendant's insurance contract with Plaintiff.

33.    The Defendant's breach proximately caused Plaintiffs injuries and damages.

34.    All conditions precedent required under the Policy have been performed, excused, waived,

       or otherwise satisfied by the Plaintiff.




PLAINTIFF'S ORIGINAL PETITION                                                            Page 6 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                   Page 11 of 24 PageID 15



                NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                      UNFAIR SETTLEMENT PRACTICES

35.    Defendant's conduct constitutes multiple violations of the Texas Insurance Code, Unfair

       Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this article are

       made actionable by TEX. INS. CODE §541.151.

36.    Defendant's unfair settlement practice, as described above, of misrepresenting to Plaintiffs

       material facts relating to the coverage at issue, constitutes an unfair method of competition

       and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

       §541.060(a)(l ).

37.    Defendant's unfair settlement practices, as described above, of failing to attempt in good

       faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

       Defendant's liability under the Policy was reasonably clear, constitutes an unfair method

       of competition and an unfair and deceptive act or practice in the business of insurance.

       TEX. INS. CODE §541.060(a)(2)(A).

38.    Defendant's unfair settlement practices, as described above, of failing to promptly provide

       the Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts

       or applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair

       method of competition and an unfair and deceptive act or practice in the business of

       insurance. TEX. INS. CODE §541.060(a)(3).

39.    Defendant's unfair settlement practices, as described above, of failing within a reasonable

       time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation of rights

       to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

       practice in the business of insurance. TEX. INS. CODE §541.060(a)(4).




PLAINTIFF'S ORIGINAL PETITION                                                              Page 7 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                  Page 12 of 24 PageID 16



40.    Defendant's unfair settlement practices, as described above, of refusing to pay Plaintiffs

       claim without conducting a reasonable investigation, constitutes an unfair method of

       competition and an unfair and deceptive act or practice in the business of insurance. TEX.

       INS. CODE §541.060(a)(7).

41.    Each of the foregoing unfair settlement practices were completed knowingly by the

       Defendant and were a producing cause of Plaintiffs injuries and damages.

                NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                     THE PROMPT PAYMENT OF CLAIMS

42.    The Claim is a claim under an insurance policy with the Defendant of which Plaintiff gave

       proper notice. The Defendant is liable for the Claim. Defendant's conduct constitutes

       multiple violations of the Texas Insurance Code, Prompt Payment of Claims. All violations

       made under this article are made actionable by TEX. INS. CODE §542.060.

43.    Defendant's failure to acknowledge receipt of Plaintiffs claim, commence investigation

       of the claim, and/or request from Plaintiff all items, statements, and forms that it reasonably

       believed would be required within the applicable time constraints, as described above,

       constitutes a non-prompt payment of claims and a violation of TEX. INS. CODE §542.055.

44.    Defendant's failure to notify Plaintiff in writing of its acceptance or rejection of the claim

       within the applicable time constraints, constitutes a non-prompt payment of the claim.

       TEX. INS. CODE §542.056.

45.    Defendant's delay of the payment of Plaintiffs claim following its receipt of all items,

       statements, and forms reasonably requested and required, longer than the amount of time

       provided for, as described above, constitutes a non-prompt payment of the claim. TEX.

       INS. CODE §542.058.




PLAINTIFF'S ORIGINAL PETITION                                                             Page 8 of 14
   Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                Page 13 of 24 PageID 17



46.    Each of the foregoing unfair settlement practices were completed knowingly by the

       Defendant and were a producing cause of Plaintiffs injuries and damages.

            BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

4 7.   The Defendant breached the common law duty of good faith and fair dealing owed to

       Plaintiff by denying or delaying payment on the Claim when Defendant knew or should

       have known that liability was reasonably clear.

48.    Defendant's failure, as described above, to adequately and reasonably investigate and

       evaluate Plaintiffs claim, although, at that time, Defendant knew or should have known

       by the exercise of reasonable diligence that its liability was reasonably clear, constitutes a

       breach of the duty of good faith and fair dealing.

49.    Defendant's conduct proximately caused Plaintiffs injuries and damages.

            VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

50.    Defendant's conduct violated the Texas Deceptive Trade Practices Act, TEX. BUS. &

       COM. CODE § 17.41, et seq. (hereinafter the "DTPA") by engaging in "false, misleading

       or deceptive acts and practices."

51.    Plaintiff is "consumer[ s]" in that Plaintiff acquired goods and/or services by purchase, and

       the goods and/or services form the basis of this action.

52.    The Defendant committed numerous violations of the Texas DTPA, insofar as Defendant:

       a)     Represented that goods or services have sponsorship, approval, characteristics,
              ingredients, uses, benefits, or quantities which they do not have;

       b)     Represented that an agreement confers or involves rights, remedies, or obligations
              which it does not have or involve, or which are prohibited by law;

       c)     Failed to disclose information concerning goods or services which was known at
              the time of the transaction when such failure to disclose such information was
              intended to induce the consumer into a transaction into which the consumer would
              not have entered had the information been disclosed;



PLAINTIFF'S ORIGINAL PETITION                                                            Page 9 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                 Page 14 of 24 PageID 18



       d)      Generally engaged in unconscionable courses of action while handling the Claim;
               and/or

       e)      Violated the provisions of the Texas Insurance Code described herein.

53.    The Defendant took advantage of the Plaintiffs lack of knowledge, ability, experience or

       capacity to a grossly unfair degree and to the Plaintiffs detriment. The Defendant's acts

       also resulted in a gross disparity between the value received and the consideration paid in

       a transaction involving the transfer of consideration. As a result of the Defendant's

       violations of the DTPA, Plaintiff suffered actual damages. In addition, the Defendant

       committed the above acts knowingly and/or intentionally, entitling Plaintiff to three times

       Plaintiffs damages for economic relief.

                                   COMMON LAW FRAUD

54.    Defendant is liable to Plaintiff for common law fraud.

55.    Each and every one of the representations, as described above, concerned material facts for

       the reason that absent such representations, Plaintiff would not have acted as they did, and

       which Defendant knew were false or made recklessly without any knowledge of their truth

       as a positive assertion.

56.    The statements were made with the intention that they should be acted upon by Plaintiffs,

       who in tum acted in reliance upon the statements, thereby causing Plaintiff to suffer injury

       and constituting common law fraud.

57.    The Defendant knowingly or recklessly made false representations as to material facts

       and/or knowingly concealed all or part of material information from Plaintiff with the intent

       of inducing Plaintiff to accept a denial and/or underpayment of insurance benefits. The

       Defendant allowed Plaintiff to use this information, or lack thereof, in justifiable reliance




PLAINTIFF'S ORIGINAL PETITION                                                          Page 10 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                   Page 15 of 24 PageID 19



       in accepting the denial and/or underpayment. Plaintiff relied upon said statements in

       accepting the denial and/ or underpayment of the Claim and suffered injury as a result.

                                            DAMAGES

58.    Upon the trial of this case, it shall be shown Plaintiff sustained damages as a result of

       Defendant's conduct. Plaintiff respectfully request the Court and jury award the amount

       of loss Plaintiff have incurred in the past and will incur in the future. There are certain

       elements of damages to be considered separately and individually for the purpose of

       determining the sum of money that would fairly and reasonably compensate Plaintiff for

       injuries, damages, and losses, incurred and to be incurred. From the date of the occurrence

       in question until the time of trial of this cause, Plaintiff seek every element of damage

       allowed by Texas law with respect to the causes of action mentioned above, including but

       not limited to Plaintiffs actual damages, policy benefits, pre-judgment interest, post-

       judgment interest, consequential damages, court costs, attorneys' fees, treble damages,

       statutory interest, and exemplary damages.

59.    Plaintiff would show that all the aforementioned acts, taken together or singularly,

       constitute the producing causes of the damages sustained by Plaintiff.

60.    The damages caused by hail and/or wind have not been properly addressed or repaired in

       the months since the storm, causing further damages to the Property, and causing undue

       hardship and burden to Plaintiff.      These damages are a direct result of Defendant's

       mishandling of Plaintiffs claim in violation of the laws set forth above.

61.    For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which is the

       amount of the claim, together with attorney's fees and pre-judgment interest.




PLAINTIFF'S ORIGINAL PETITION                                                             Page 11 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                 Page 16 of 24 PageID 20



62.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

       is entitled to actual damages, which include the loss of the benefits that should have been

       paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

       conduct of the acts described above, Plaintiff ask for three times actual damages. TEX. INS.

       CODE §541.152.

63.    For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

       entitled to the claim amount, as well as eighteen (18) percent interest per annum on the

       amount of such claim as damages, together with attorney's fees. TEX. INS. CODE §542.060.

64.    For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

       compensatory damages, including all forms of loss resulting from the insurer's breach of

       duty, such as additional costs, economic hardship, losses due to nonpayment of the amount

       the insurer owed, exemplary damages, and damages for emotional distress.

65.    For violations of the Deceptive Trade Practices Act, Plaintiff is entitled to recover actual

       damages and up to three times Plaintiffs damages for economic relief, along with

       attorney's fees, interest and court costs.

66.    For fraud, Plaintiff is entitled to recover actual damages and exemplary damages for

       knowingly fraudulent and malicious representations, along with attorney's fees, interest,

       and court costs.

67.    For the prosecution and collection of this claim, Plaintiff have been compelled to engage

       the services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff

       is entitled to recover a sum for the reasonable and necessary services of Plaintiffs attorney

       in the preparation and trial of this action, including any appeals to the Court of Appeals

       and/or the Supreme Court of Texas.




PLAINTIFF'S ORIGINAL PETITION                                                          Page 12 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                  Page 17 of 24 PageID 21



68.     Plaintiff is not making any claims for relief under federal law.

                                          JURY DEMAND

69.     Plaintiffs request a jury trial and have tendered any and all requisite fees for such along

        with the filing of this Plaintiff's Original Petition.

                                 REQUEST FOR DISCLOSURE

70.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is requested to

        disclose, within fifty (50) days of service of this request, the information described in Rule

        194.2(a)-(l).

                                              PRAYER


        WHEREFORE, Plaintiff respectfully request that final judgment be rendered for the

Plaintiff as follows:

        1) Judgment against Defendant for actual damages in an amount to be determined by the
           Jury;

        2) Statutory benefits;

        3) Treble damages;

        4) Exemplary and punitive damages;

        5) Pre-judgment interest as provided by law;

        6) Post-judgment interest as provided by law;

        7) Attorneys' fees;

        8) Costs of suit;

        9) Such other and further relief to which Plaintiff may be justly entitled.

                                          [Signature Page to Follow]




PLAINTIFF'S ORIGINAL PETITION                                                            Page 13 of 14
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22        Page 18 of 24 PageID 22




                                Respectfully Submitted,




                                       By:'ih F ~
                                            Shaun W. Hodge
                                            Texas Bar No. 24052995
                                            shodge@hodgefirm.com
                                            Racchel Cabrera
                                            Texas Bar No. 24109093
                                            rcabrera@hodgefirm.com
                                            The Hodge Law Firm, PLLC
                                            The Historic Runge House
                                            1301 Market Street
                                            Galveston, Texas 77550
                                            Telephone: (409) 762-5000
                                            Facsimile: (409) 763-2300

                                       ATTORNEYS FOR PLAINTIFF




PLAINTIFF'S ORIGINAL PETITION                                            Page 14 of 14
       Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22              Page 19 of 24 PageID 23
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Kendal McLaughlin on behalf of Racchel Cabrera
Bar No. 24109093
kmclaughlin@hodgefirm.com
Envelope ID: 64186649
Status as of 5/9/2022 5:21 PM CST

Case Contacts

Name                    BarNumber   Email                          TimestampSubmitted     Status

Becky A. Bethscheider               bbethscheider@hodgefirm.com    5/4/2022 2:01 :58 PM   SENT

Kendal McLaughlin                   kmclaughlin@hodgefirm.com      5/4/2022 2:01 :58 PM   SENT

Racchel Cabrera                     rcabrera@hodgefirm.com         5/4/2022 2:01 :58 PM   SENT

Shaun WHodge                        shodge@hodgefirm.com           5/4/2022 2:01 :58 PM   SENT

Gabriel Bethscheider                g bethscheider@hodgefirm.com   5/4/2022 2:01 :58 PM   SENT
                                                                                                            FILED
                                                                                                6/21/2022 8:48 AM
                                                                                                   FELICIA PITRE
Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                   Page 20 of 24      PageID 24 DISTRICT CLERK
FORM NO. 353-3-CITATION                                                                       DALLAS CO., TEXAS
                                                                                           SADAF RAJPUT DEPUTY
THE STATE OF TEXAS
To:    ALLSTATE TEXAS LLOYD'S
       BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
       1999 BRYAN STREET SUITE 900
       DALLAS TX 75201

GREETINGS:
You have been sued. You may employ an attomey. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made
no later than 30 days after you file your answer with the clerk. Find out more at                          on tb
TexasLawHelp.org. Your answer should be addressed to the clerk of the 162nd District Court at
600 Commerce Street, Dallas, Texas 75202.

 Said Plaintiff being YOLANDA MARQUEZ

Filed in said Court 4th day of May, 2022 against
                                                                                                            By:
ALLSTATE TEXAS LLOYD'S

For Suit, said suit being numbered DC-22-04750, the nature of which demand is as follows:
Suit on CNTR CNSMR COM DEBT etc. as shown on said petition REQUEST FOR DISCLOSURE, a                         TH
copy of which accompanies                                                                                   TH
this citation. If this citation is not served, it shaII be returned unexecuted.

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at office on this the 15th day of June, 2022

 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas


                    ~
         By 'i,.,,.., , Deputy
         TERESA JONES
 Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                                 Page 21 of 24 PageID 25


                                                                          OFFICER'S RETURN
Cause No. DC-22-04750

Court No.: 162nd District Court

Style: YOLANDA MARQUEZ
vs.
ALLSTATE TEXAS LLOYD'S

Came to hand on the              (   s:--                  day of          0 V~                           ,   20   7., z_
Executed at (     qqq      B0,,- ~ S__4-k q O OL \:> <I,u, }21: f SCD ( ,
                                                                 0
                                                                                            within the County
 \ <J':\1        o'clock   ft        . .on the       (,   <;,               day of '3"' v""2..
                                                                                                   1
                                                                                                       u'l. ,z....
by                          delivering                               to                          the                                 witr
t\:\\ ffikT< ~(',.J ((o'tJ.' J         :Jo   (,Y-         C.rfor-~tt)" ~ '-tf/-. ~          ,r "-f,lC(,


each, in person, a true copy of this Citation together with the accompanying copy                             this pleading, having
delivery. The distance actually traveled by me in serving such process was-,,£--_ _,.___ iles and my fees are m
witness my hand.
                      For serving Citation        $_ _ _ _
                                                                                                              ~fcr~?Yetfc.o(:1.( ~
                      For mileage                 $_ _ __                    of_ _ _------'' ------ County,             "'""'">
                      For Notary                  $_ _ _ _                   By_ _ _ __ __ __ _ _ __
                                                   J1Yfust be verified if served outside the State of Texas.)                    ~
      Signed and sworn to by the said             ( o..f.A_l, ;v{"'L"' v\..R...          before me this            ('       day o1' vV\(__
                                             20     L      l,,, to certify which witness my hand and seal of office.


                                                                                             Notary Public           p e- Ctq          C
                                                                                                               FILED
                                                                                                    7/8/2022 4:44 PM
                                                                                                      FELICIA PITRE
     Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22               Page 22 of 24     PageID 26 DISTRICT CLERK
                                                                                               DALLAS CO., TEXAS
                                                                                           Margaret Thomas DEPUTY




                                     CAUSE NO. DC-22-04750

YOLANDA MARQUEZ,                                  §           IN THE DISTRICT COURT
                                                  §
         Plaintiff,                               §
                                                  §
V.                                                §           162ND JUDICIAL DISTRICT
                                                  §
ALLSTATE TEXAS LLOYD'S,                           §
                                                  §
         Defendant.                               §           DALLASCOUNTY,TEXAS


                             DEFENDANT'S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Defendant Allstate Texas Lloyd's ("Defendant") in the above-entitled and

numbered cause, and files this Original Answer to Plaintiffs Original Petition and in support

thereof would respectfully show the Court as follows:


                                                 I.

                                         GENERAL DENIAL

         Defendant denies all and singular, each and every allegation contained in Plaintiffs

Original Petition, and says that the same are not true in whole or in part, and Defendant demands

strict proof thereof by a preponderance of the evidence.


                                             PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Texas Lloyd's prays that

the Plaintiff take nothing against Defendant, that Defendant be awarded costs, and for such other

and further relief, both at law and in equity, special and general, to which Defendant Allstate Texas

Lloyd's is justly entitled to receive.




DEFENDANT'S ORIGINAL ANSWER                                                                    Page 1
  Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22                  Page 23 of 24 PageID 27




                                              Respectfully submitted,

                                              DAVID ALLEN LAW GROUP, PLLC


                                              By:            Isl David G. Allen
                                                      David G. Allen
                                                      State Bar No.: 00786972
                                                      allen@dallenlg.com
                                                      Brian G. Saucier
                                                      State Bar No. 24037436
                                                      saucier@dallenlg.com

                                              12222 Merit Drive, Suite 1200
                                              Dallas, Texas 75251
                                              (214) 748-5000 (Telephone)
                                              (214) 748-1421 (Facsimile)

                                              ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

        I certify that a copy of this document was served this 8th day of July, 2022 upon all counsel
of record pursuant to the Texas Rules of Civil Procedure.



                                                    ls/David G. Allen
                                              David G. Allen




CJW/PLDG/688618.1/000003.22308




DEFENDANT'S ORIGINAL ANSWER                                                                   Page 2
       Case 3:22-cv-01495-E Document 1-1 Filed 07/12/22              Page 24 of 24 PageID 28
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Cathy White on behalf of David Allen
Bar No. 00786972
white@dallenlg.com
Envelope ID: 66162255
Status as of 7/11/2022 8:37 AM CST

Associated Case Party: YOLANDA MARQUEZ

Name            BarNumber   Email                    Timestam pSu bmitted    Status

Shaun Hodge     24052995    shodge@hodgefirm.com     7/8/2022 4:44:25 PM     SENT



Associated Case Party: ALLSTATE TEXAS LLOYDS

Name            BarNumber   Email                  Timestam pSu bmitted    Status

Brian Saucier               saucier@dallenlg.com   7/8/2022 4:44:25 PM     SENT

Amalia Perez                perez@dallenlg.com     7/8/2022 4:44:25 PM     SENT

David GAiien                Allen@dallenlg.com     7/8/2022 4:44:25 PM     SENT
